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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 9:17-cv-80948-RLR


  DAVID JACK WILKINSON,

        Plaintiff,

  v.

  FLORIDA POWER & LIGHT COMPANY,
  a Florida profit corporation, and MBO
  PARTNERS, INC., a foreign profit corporation

       Defendants.
  ___________________________________/

       DEFENDANTS, FLORIDA POWER & LIGHT COMPANY’S AND
          MBO PARTNERS, INC.’S, JOINT NOTICE REGARDING
                     STATUS OF SETTLEMENT

        Defendants, FLORIDA POWER & LIGHT COMPANY (“FPL”) AND

  MBO PARTNERS, INC. (“MBO”) (collectively, “Defendants”), by and through

  the undersigned counsel, and pursuant to the Court’s Order Staying Case and

  Directing the Clerk of the Court to Close the Case for Statistical Purposes [DE 38],

  hereby advise the Court regarding status of the settlement.

        On December 4, 2017, after reaching a full, final and global settlement of all

  of Plaintiff’s claims against Defendants, the Parties advised the Court that they had

  “agreed to settle the above captioned action in its entirety.” [DE 37] On December




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  Defendants Notice Regarding Status of Settlement

  6, 2017, the Court instructed the Parties to file any appropriate pleadings related to

  dismissal of this action on or before January 5, 2018 [DE 38].

         Subsequently, the Parties engaged in communications regarding the non-

  material terms of settlement agreement. At Plaintiff’s request, Defendants provided

  a draft settlement agreement for Plaintiff’s review on December 14, 2017. On

  January 3, 2018, counsel for Plaintiff advised that Plaintiff no longer wished to

  settle his claim under 26 U.S.C. § 7434 [DE 12, Count III] as part of the agreed to

  settlement. The Parties engaged in conferral on the issue through January 4, 2018,

  and were advised on that date that Plaintiff also no longer wished to settle his claim

  under Florida’s Deceptive and Unfair Trade Practices Act [DE 12, Count II] as part

  of the agreed to settlement.

         In light of Plaintiff’s attempt to renege on the parties’ settlement agreement,

  Defendants request a ruling on their pending Joint Motion to Dismiss, or, in the

  Alternative, to Stay, and Compel Arbitration [DE 35].          Defendants thereafter

  intend to file a Motion to Enforce the Settlement Agreement, either before the

  arbitrator or with the court, depending upon the ruling on Defendants’ pending

  motion. Defendants would be in a position to file their Motion to Enforce within

  three business days after ruling on the pending motion.




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  Defendants Notice Regarding Status of Settlement

  Dated: January 5, 2018                    Respectfully submitted,


  /s/ Christin M. Russell                        /s/ Richard D. Tuschman
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  Counsel for Defendant FPL                      Counsel for Defendant MBO Partners, Inc.



                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by
  CM/ECF on January 5, 2018 on all counsel or parties of record on the Service List
  below.

                                            /s/ Christin M. Russell
                                            Christin M. Russell, Esq.

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